               'I
         Case 2:19-cv-02145-NIQA Document 1 Filed 05/17/19 Page 1 of 21




ABDEL-HAKIEM CAID,
                 Plaintiff,

                      vs.
                                                   Civil Action No.
                                                                         19          214
AL SHARIF DAVIS, LYFT, INC. and
STEADFAST INSURANCE COMPANY
                   Defendants.
                                                                               FILED
                                                                                        2019
                                   NOTICE OF REMOVAL

        TO:   THE UNITED STATES DISTRICT COURT FOR THE
              EASTERN DISTRICT OF PENNSYLVANIA

        Defendant, Lyft, Inc. ("Lyft") by and through its attorneys, Dickie, McCamey &

Chilcote, P.C., hereby files this Notice of Removal of the above-captioned matter from the

Court of Common Pleas of Philadelphia County, the jurisdiction which is now pending, to the

United States District Court for the Eastern District of Pennsylvania, and in support thereof

avers as follows:

        1.    This action was commenced by a Complaint in the Court of Common Pleas of

Philadelphia County, Pennsylvania at April Term, 2019, Number 1348.

        2.    The Complaint was filed on April 9, 2019 and served upon Lyft on April 17,

2019.

        3.    The Complaint seeks damages for personal injury, as well as first party medica

benefits, as a result of a motor vehicle accident occurring on April 10, 2017. See Exhibit A.
         Case 2:19-cv-02145-NIQA Document 1 Filed 05/17/19 Page 2 of 21



        4.      At the time this action was commenced and continuing to the present, Lyft is a

Delaware corporation with its principal place of business at 185 Berry Street, #5000, San

Francisco, CA 94107.

        5.      At the time this action was commenced and continuing to the present,

Defendant, Steadfast Insurance Company ("Steadfast") is a Delaware corporation with its

principal place of business located at 1299 Zurich Way, Schaumburg, IL 60196.

        6.     At the time this action was commenced and continuing to the present,

Defendant, Al Sharif Davis ("Davis") is an adult individual and a citizen, domiciliary, and

resident of New Jersey, with a residence at 1116 Adriatic Avenue, Atlantic City, ~J 08401.

        7.     At the time this action was commenced and, upon information and belief,

continuing to the present, Plaintiff is an adult individual residing at 7313 Palmetto Street,

Philadelphia, PA 19111, who is a citizen and domiciliary of Pennsylvania.

       8.      The Complaint alleges that, as a result of the subject accident, Plaintiff

sustained, inter alia, a right distal radius fracture requiring surgical repair, an ulnar styloil

fracture, headaches, and various other injuries. See Exhibit A, ,r 12.
                                                                                                t

       9.      The Complaint alleges that Plaintiffs claimed injuries are permanent. See

Exhibit A, ,r 13.

       10.     The Complaint alleges that Plaintiff has sustained a loss of earnings, and may

sustain a loss of earnings in the future. See Exhibit A, ,r 15.

       11.     The Complaint alleges that Plaintiff has suffered pain, mental anguish an,

emotional distress. See Exhibit A, ,r 16.

        12.    The amount in controversy is alleged in the Complaint to exceed the sum of

Fifty Thousan~ Dollars ($50,000.00).
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         Case 2:19-cv-02145-NIQA Document 1 Filed 05/17/19 Page 3 of 21



       13.     Under 28 U.S.C. § 1446(c)(2)(A)(ii), Defendant Lyft asserts the amount in

controversy exceeds $75,000 because Plaintiff is permitted by state practice to recover

damages in excess of the $50,000 demanded as a money judgment.

       14.     Upon information and belief, the amount in controversy, as alleged based on

the nature of the permanent injuries claimed, and without admitting to the existence or merit

of same, exceeds Seventy-Five Thousand Dollars ($75,000.00).

       15.     Defendant Davis, also by and through undersigned counsel, consents to the

removal of this action.

       16.     Defendant Steadfast, also by and through undersigned counsel, consents to the

removal of this action.

       17.     The present lawsuit is removable from the state court to the District Court for

the Eastern District of Pennsylvania pursuant to 28 U.S.C. §§ 1332(a)(1), 144 l(a).

       18.     Venue is proper in the Eastern District of Pennsylvania pursuant to 28 U.S.C. §

1391(b)(2) because a substantial part of the events or omissions giving rise to the claims

occurred in the judicial district.

       19.     Copies of all process, pleadings and orders that have been received by Lyft are

filed herewith and attached collectively hereto as Exhibit A.

       20.     This Notice is timely, being filed within thirty (30) days of service of the

Complaint on Defendant Lyft.
                                                                                             I
       WHEREFORE, Defendant, Lyft, Inc., respectfully requests the above-captioned matter

now pending against it in the Court of Common Pleas of Philadelphia County be removed to
                                                                                             l
the United States District Court for the Eastern District of Pennsylvania.
Case 2:19-cv-02145-NIQA Document 1 Filed 05/17/19 Page 4 of 21




                            Respectfully submitted,



                            Jeffrey H. Qu· , squire (PA ID No.: 46484)
                            jquinn@dmc aw.com
                            Allison L. Perry, Esquire (PA ID No.: 306568)
                            aperry@dmclaw.com

                            Dickie, McCamey & Chilcote, P.C.
                            1650 Arch Street, Suite 2110
                            Philadelphia, PA 19103
                            Telephone: 215-925-2289
                            Attorneys for Defendants
        Case 2:19-cv-02145-NIQA Document 1 Filed 05/17/19 Page 5 of 21



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ABDEL-HAKIEM CAID

                      vs.
                                                   Civil Action No.
                                                                         19             214
AL SHARIF DAVIS, LYFT, INC. and
STEADFAST INSURANCE COMPANY



                                         AFFIDAVIT
       Allison L. Perry, Esquire, being sworn according to.law deposes and says that she is

the counsel for Defendant, Lyft, Inc. in the within matter; and that she has read the

foregoing Notice of Removal and believes it to be true and correct, to the best of her

knowledge, information and belief.



                                           Respectfully submitted,



                                           Allison L. Per , ,squire (PA ID No.
                                           aperry@dmclaw.com

                                           Dickie, McCamey & Chilcote, P.C.
                                           1650 Arch Street, Suite 2110
                                           Philadelphia, PA 19103
                                           Telephone: 215-925-2289
                                           Attorneys for Defendants
         Case 2:19-cv-02145-NIQA Document 1 Filed 05/17/19 Page 6 of 21



                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ABDEL-HAKIEM CAID
                                                     Civil Action No.
                       vs.
                                                                        19         2145
AL SHARIF DAVIS, LYFT, INC. and
STEADFAST INSURANCE COMPANY



                                       PROOF OF FILING

        I, Allison L. Perry, Esquire, hereby certifies that a copy of the foregoing Notice for

Removal has been filed via electronic filing with the Prothonotary of the Court of Common

Pleas of Philadelphia County on _ _ _ _ _ _ _ __


                                             Respectfully submitted,

Date:   5 },5 }11
                                                            quire (PA ID No.: 306568)
                                             aperry@dmclaw.com

                                             Dickie, McCamey & Chilcote, P.C.
                                             1650 Arch Street, Suite 2110
                                             Philadelphia, PA 19103
                                             Telephone: 215-925-2289
                                             Attorneys for Defendants     ,r,




                                                                                                 I   C!eik
                                                                                        ,---1 ~,. c:~~
         Case 2:19-cv-02145-NIQA Document 1 Filed 05/17/19 Page 7 of 21

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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ABDEL-HAKIEM CAID
                                                       Civil Action No.
                      vs.
                                                                            19        214
AL SHARIF DAVIS, LYFT, INC. and
STEADFAST INSURANCE COMPANY


                                   CERTIFICATE OF SERVICE

        I, Allison L. Perry, Esquire, hereby certify that a copy of the attached has been served

upon the following individual by first class, United States mail, postage pre-paid this   l~
                                      . 2019.

                                      Michael A. Etkin, Esq.
                            Law Offices of Michael A. Etkin & Associates
                                      4961 Oxford Avenue
                                     Philadelphia, PA 19124


                                                Respectfully submitted,

Date:   5   /15 /Jq
                                                            r , Esquire (PA ID No.: 306568)
                                                            claw.com

                                                Dickie, McCamey & Chilcote, P.C.
                                                1650 Arch Street, Suite 2110
                                                Philadelphia, PA 19103
                                                Telephone: 215-925-2289
                                                Attorneys for Defendants
       Case 2:19-cv-02145-NIQA Document 1 Filed 05/17/19 Page 8 of 21



DICKIE, McCAMEY & CHILCOTE, P.C.
1650 Arch Street
Suite 2110
Philadelphia, PA 19103
(215) 925-2289
By: Jeffrey H. Quinn, Esquire
Identification No. 46484
By: Allison L. Perry, Esquire
Identification No. 306568
Attorneys for Defendants


ABDEL-HAKIEM CAID                                      COURT OF COMMON PLEAS
                                                       PHILADELPHIA COUNTY
                    vs.
AL SHARIF DAVIS,                                       APRIL TERM, 2019
LYFT, INC. AND
STEADFAST INSURANCE COMPANY                            NO: 1348


                                 NOTICE OF REMOVAL

TO:   PROTHONOTARY OF THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY'

      Pursuant to 28 U.S.C.A. §1446(e), Lyft, Inc. files herewith a copy of the Notice   j
Removal, which was filed in the United States District Court for the Ea'.stern District o

Pennsylvania on _ _ _ _ _ _ _ _ __

                                         Respectfully submitted,

                                         {Jg,
                                         Jeffrey~
                                         Allison L. Perry
                                         Attorneys for Defendants
         Case 2:19-cv-02145-NIQA Document 1 Filed 05/17/19 Page 9 of 21




                                                                                           MAJOR CASE
                                                                                           NON-JURY TRIAL DEMANDED

                                                                                           ASSESSMENT OF DAMAGES
                                                                                           IS REQUIRED

LAW OFFICES OF MICHAEL A. ETKIN & ASSOCIATES
BY: MICHAELA. ETKIN, ESQUIRE
IDENTIFICATION NO. 17898                   ATTORNEY FOR Plaintiff
4961 OXFORD AVENUE
PHILADELPHIA, PA 19124
215-535-2009
metkin@etkinandassoc.com
                                           COURT OF COMMON PLEAS
ABDEL-HAKIEM CAID                          PHILADELPHIA COUNTY
7313 Palmetto Street
Philadelphia, PA 19111
       VS.                                 APRIL TERM 2019
AL SHARIF DAVIS
 1116 Adriatic Avenue
Atlantic City, NJ 08401
            AND
LYFT, INC.
185 Berry Street
Suite 5000
San Francisco, CA 94107
       AND
STEADFAST INSURANCE COMPANY
1400 Americane Lane
Schaumburg, IL 60196                                                                        NO.

        CIVIL ACTION - NEGLIGENCE - CODE NO. 2V - MOTOR VEHICLE ACCIDENT
            NOTICE
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!AWYI,,'R REFERRAL AND INFORMATION SERVICE                                    SERVICIO DE REFERENCIA E INFORMAC!ON LEGAL
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                                                                      Page 1 of       9



                                                                                                                                                        Case I ·   190401348
   Case 2:19-cv-02145-NIQA Document 1 Filed 05/17/19 Page 10 of 21




                                                        ASSESSMENT
                                                        IS REQUIRED

LAW OFFICES OF MICHAEL A. ETKIN & ASSOCIATES
BY: MICHAEL A. ETKIN, ESQUIRE
IDENTIFICATION NO. 17898                   A'ITORNEY FOR Plaintiff
4961 OXFORD A VENUE
PHILADELPHIA, PA 19124
215-535-2009
metkin@etkinandassoc.com
                                                        COURT OF COMMON PLEAS
ABDEL-HAKIEM CAID                                       PHILADELPHIA COUNTY
7313 Palmetto Street
Philadelphia, PA 19111
      vs.                                               APRIL TERM 2019
AL SHARIF DAVIS
1116 Adriatic Avenue
Atlantic City, NJ 0840 I
       AND
LYFT, INC.
185 Berry Street
Suite 5000
San Francisco, CA 94107
      AND
STEADFAST INSURANCE COMPANY
1400 Americane Lane
Schaumburg, IL 60196                                    NO.

    CIVIL ACTION - NEQLIGENCE - CODE NO. 2V - MQTOR VEHICI.sf; AQCIDENT

      1) Plaintiff, Abdel-Hakiem Caid, is an adult individual residing at the above

captioned address.

      2} Defendant, Al Sharif Davis, (Davis), is an adult individual residing at the above

captioned address.

      3) Defendant, Lyft, Inc., (Lyft), is a Delaware corporation authorized to do business

and engaged in business in the Commonwealth of Pennsylvania with its business office

located at the above captioned address.



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                                                                                     Case I   I 90401348:
    Case 2:19-cv-02145-NIQA Document 1 Filed 05/17/19 Page 11 of 21




      4) Defendant, Steadfast Insurance Company, (Steadfast), is a foreign corporation

authorized to do business in the Commonwealth of Penneylvania with its business office

located at the above captioned address.

      5) At all times relevant hereto defendant Lyft , a transportation network company,

was engaged in on-demand ride sharing services to the general public within the City of

Philadelphia and the Commonwealth of Pennsylvania.

       6) At all times relevant hereto defendant Davis was the agent, servant, workman

or employee of defendant Lyft and was engaged in the course and scope of his agency,

employment and/ or authority on behalf of said defendant.

      7) At all times relevant hereto defendant Davis was the owner of a 2016 Kia Rio,

registered in the State of New Jersey, that was being utilized for his ride sharing services

as a driver for defendant Lyft.

       8) At all times relevant hereto defendant Davis was engaged in ride sharing

services on behalf of defendant Lyft in accordance with the Lyft terms of service.

       9) At all times relevant hereto defendant Davis was logged into the digital network

of Lyft and had fare paying passengers in the said vehicle that he was transporting to

their destination.

       1O} At all times relevant hereto defendant Davis was the operator of the said

vehicle that was involved in a pedestrian knockdown accident with the plaintiff that

occurred on or about April 10, 2017.




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       11) On or about April 10, 2017 at or about 7:30 p.m. defendant Davis was

operating his vehicle northbound on Kelly Drive at or near its intersection with Sedgley

Drive, in the City and County of Philadelphia, Commonwealth of Pennsylvania, when

suddenly and without warning and due solely to the negligence and carelessness of the

defendants, the said operator disregarded a red traffic signal and struck the plaintiff, a

pedestrian, as he was crossing Kelly Drive. As a result of said accident plaintiff sustained

serious and permanent personal injuries as more fully described hereinafter.

       12) As a result of this accident plaintiff has suffered injuries which are serious

and permanent, including but not limited to headaches; right distal radius fracture

requiring surgical repair; ulnar styloid fracture; cervical spine strain and sprain; anterior

chest wall contusion; right shoulder strain and sprain; right Achilles strain and sprain;

pain in right hip; pain in right knee; diverse scrapes, abrasions and lacerations;

depressive disorder; anxiety and insomnia; severe damage to his nerves and nervous

system and various other ills and injuries.

       13) As a further result of this accident plaintiff has suffered an injury which may

be in full or in part a cosmetic disfigurement which is or may be permanent, irreparable

and severe.

       14) As a further result of this accident plaintiff has been compelled to expend

various sums of money for medicine and medical attention in an attempt to alleviate and

cure the aforesaid injuries and was prevented from attending to his usual duties and

occupation all to his great financial loss and detriment.

       15) As a further result of this accident plaintiff has and will for an indefinite time

in the future suffer a severe loss of his eaniings and impairment of his earning capacity

all to his great financial loss and detriment.


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    Case 2:19-cv-02145-NIQA Document 1 Filed 05/17/19 Page 13 of 21




       16) As a further result of this accident plaintiff has suffered severe physical pain,

mental anguish, psychological and emotional distress and humiliation, and he will

continue to suffer same for an indefinite time in the future.

       17) As a further result of this accident plaintiff has suffered a loss of the

enjoyment of his usual duties, life pleasures, and activity all to his great loss and

detriment.

                                 COUNT I - NEGLIGENCE
                      ABDEL-HAKIEM       CAID V. AL SHARIF PAVIS
       18)    Plaintiff incorporates herein each and every allegation contained in

paragraphs I through 17 inclusive as if same were fully set forth.

       19) This accident resulted solely from the negligence and carelessness of the

defendants.

       20) The negligence and carelessness of the individual defendant consisted of the

following:

              a) Failing to properly operate and control his vehicle;

              b) Failing to maintain a proper lookout;

              c) Driving at an excessive rate of speed under the circumstances;

              d) Failing to maintain the assured clear distance ahead;

              e) Driving while distracted;

              f) Failing to be vigilant and to maintain sufficient control of said vehicle;

              g) Violations of the Local Ordinances and Statutes governing the operation

of motor vehicles upon the streets and highways, in violation of75 Pa. C.S.A., including

but not limited to the following:

                     i)   §3111 - Obedience to traffic control signals;

                     ii) §3112 - Traffic control signals;

                                      Page 5 of      9



                                                                                      Case II :   190401348 ,
    Case 2:19-cv-02145-NIQA Document 1 Filed 05/17/19 Page 14 of 21




                    iii) §3361 - Driving vehicle at safe speed;

                    iv) §3714 - Careless driving;

                    v) §3736(a) - Reckless driving.

      WHEREFORE, plaintiff, Abdel-Hakiem Caid, demands judgment against

defendants, Al Sharif Davis and Lyft, Inc., in an amount in excess of Fifty Thousand

Dollars, ($50,000.00), plus costs.

        COUNT Il - NEGLIGENT HIRING, SUPERVISION AND/OR RETENTION
                       ABDf;L-HAKIEM CAID V. LYEL ING.
      21)    Plaintiff incorporates herein each and every allegation contained m

paragraphs 1 through 20 inclusive as if same were fully set forth.

      22)   That at all times relevant hereto defendants entered into a contractual

relationship whereby defendant Davis would provide ride sharing services to members

of the general public through a mobile application of defendant Lyft which enabled users

of said service to arrange and schedule transportation services.

      23) That pursuant to said contractual relationship defendant Lyft provided to

defendant Davis a license to access and use the application provided and serviced by

defendant Lyft to obtain ride sharing passengers who would pay a fare through the said

mobile application of defendant Lyft.

       24) That defendant Davis agreed to the terms of the contractual relationship and

became a licensee of defendant Lyft and at all times relevant hereto maintained an active

personal user services account.

       25) That defendants were engaged through their transportation network in the

business of ride sharing services to the general public.




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                                                                                   Case    J,   190401348.
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       26) That defendant Lyft either permitted and/or approved defendant Davis to be

part of its transportation network and to carry members of the general public in a ride

sharing service.

       27) That defendant Lyft either permitted and/ or approved the vehicle of defendant

Davis to be utilized in its transportation network and to carry members of the general

public in a drive sharing services.

       28) That defendant Lyft permitted defendant Davis to operate on its behalf when

it knew or reasonably should have known that defendant Davis was inexperienced,

unlicensed, unqualified, unsafe, unfit, and/or a careless driver.

       29) That defendant Lyft was further negligent and careless in that it permitted its

agent, servant, workman or employee, defendant Davis, to operate a vehicle on its behalf

and within its authority, direction, control and/ or right of control when it knew or should

have known of said individual's unsafe and/or dangerous propensities in the

performance of his job duties.

       30) That defendant Lyft was further negligent and careless in that it failed to

properly screen, train and/ or supervise its agents, servants, workmen or employees

including defendant Davis, to determine that they were safe, capable and adequate

drivers.

       31} That defendant Lyft knew or should have known that its failure to ensure that

its agents, servants, workmen or employees, including defendant Davis, were safe,

capable and adequate drivers could result in injuries to the general public, including the

plaintiff herein.




                                      Page 7 of      9



                                                                                      Case I · I 9040 I 348
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      WHEREFORE, plaintiff, Abdel-Hakiem Caid, demands judgment against

defendants, Al Sharif Davis and Lyft, Inc., in an amount in excess of Fifty Thousand

Dollars, {$50,000.00), plus costs.

                  COUNT III - FIRST PARTY BENEFITS
   ABDEkHAKIEM CAID V. !.,YFT. INC. AND STE",DFJ\ST INSURANCE COMPANY
      32)    Plaintiff incorporates herein each and every allegation contained in

paragraphs 1 through 31 inclusive as if same were fully set forth.

      33) That at all times relevant hereto defendant Steadfast was the insurer for

defendant Lyft.

      34) That at all times relevant hereto defendants were required, in accordance with

66 Pa. C.S.A. §2603.1 and 53 Pa. C.S.A. §57A07, to provide first party benefits to

pedestrians, such as the plaintiff, injured by drivers of a transportation network, such

as defendant Lyft.

       35) That at the time of accident as defendant Davis was engaged in a pre-arranged

ride with fare paying passengers, plaintiff is entitled, per statute, to first party medical

benefits, as required by 75 Pa. C.S. §1711, in the amount of$25,000.00.

       36) That plaintiff as a result of the injuries sustained in said accident suffered

serious and permanent personal injuries requiring extensive medical care.

       37) That the medical bills of the plaintiff were incurred for accident related

medical care that was reasonable, necessary and appropriate and the charges for same

are fair and reasonable.

       38) That defendants were placed on written notice of plaintiff's claim and in

response defendants assigned a claim representative and assigned claim number:

LYFT31172Cl.




                                      Page 8 of      9                               Case I    190401 348
    Case 2:19-cv-02145-NIQA Document 1 Filed 05/17/19 Page 17 of 21




       39) That defendants failed and refused in accordance with plaintiff's request to

forward an application for benefits to forward same and have not paid medical benefits

on behalf of the plaintiff.

       40) That as a direct result of defendants' failure to pay first party medical ~nefits

on behalf of the plaintiff, plaintiff has retained the services of an attorney to collect said

benefits.

       41) That in accordance with 75 Pa. C.S. §1716, et seq, plaintiff is entitled to

recover attorney fees, costs and interest from the defendants.

       42) That defendants have undertaken a course of action, without justification, and

have failed to pay medical benefits on behalf of the plaintiff which he is entitled to

receive, in contradiction of the Pa. statutes.

       WHEREFORE, plaintiff, Abdel-Hakiem Caid, demands judgment against

defendants, Lyft, Inc. and Steadfast Insurance Company, in an amount in excess of Fifty

Thousand Dollars, ($50,000.00), plus attorney fees, costs and interest.

                                           LAW OFFICES OF MICHAEL A. ETKIN
                                           & AS SOCIATES

                                    BY:      bf MlCffAEL A. ITKlN
                                           MICHAELA. ETKIN, ESQUIRE
                                           Attorney for Plaintiff,
                                           Abdel-Hakiem Caid




                                       Page 9 of      9                                 Case I   190401348
          Case 2:19-cv-02145-NIQA Document 1 Filed 05/17/19 Page 18 of 21

..


                                 VERIFICATION
           The undersigned, having read the attached pleading, hereby verifies that the

     within pleading is based on information furnished to counsel, which information has

     been gathered by counsel in the course of this lawsuit. The language of the pleading is

     that of counsel and not of signer. Signer verifies that he has read the within pleading

     and that it is true and correct to the best of signer's knowledge, information and belief.

     To the extent that the contents of the pleadings are that of counsel, verifier has relied

     upon counsel in taking this Verification.     This Verification is made subject to the

     penalties of 18 Pa. C. S. Sec. 4904, relating to unswom falsification of authorities.




                                              DDEL-HAKIEM: CAID




                                                                                         Case I : 190401348
         Case 2:19-cv-02145-NIQA Document 1 Filed 05/17/19 Page 19 of 21

..
     DICKIE, McCAMEY & CHILCOTE, P.C.
     1650 Arch Street
     Suite 2110
     Philadelphia, PA 19103
     (215) 925-2289
     By: Jeffrey H. Quinn, Esquire
     Identification No. 46484
     By: Allison L. Perry, Esquire
     Identification No. 306568
     Attorneys for Defendants


     ABDEL-HAKIEM CAID                                        COURT OF COMMON PLEAS
                                                              PHILADELPHIA COUNTY
                         vs.
     AL SHARIF DAVIS,                                         APRIL TERM, 2019
     LYFT, INC. AND
     STEADFAST INSURANCE COMPANY                              NO: 1348


                                     ENTRY OF APPEARANCE

     TO THE PRqTHONOTARY:                                                                         t
                                                                                                  !

                                                                                                  I
           Kindly enter our appearance as counsel forthe defendants, Al Sharif Davis, Lyft, Inc. '.

     and Steadfast Insurance Company, in the above captioned matter.


                                               DICKIE, McCAMEY & CHILCOTE, P.C.

                                                      JeffnAJ Q ~
                                        BY:
                                               JEFFREY H. QUINN, ESQUIRE
                                               ALLISON L. PERRY, ESQUIRE
                                               Attorney(s) for Defendants




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Attorneys for Defendants


ABDEL-HAKIEM CAID                                         COURT OF COMMON PLEAS
                                                          PHILADELPHIA COUNTY
                       vs.
AL SHARIF DAVIS,                                          APRIL TERM, 2019
LYFT, INC. AND
STEADFAST INSURANCE COMPANY                                NO: 1348                             II
-------------
                                  DEMAND FOR JURY TRIAL

TO THE PROTHONOTARY:

          Defendants, AI Sharif Davis, Lyft, Inc. and Steadfast Insurance Company, above
                                                                                                '
                                                                                           '
named hereby demand a jury trial in the above captioned matter. Said jury to consist of 12 \
                                                                                           r
jurors.


                                             DICKIE, McCAMEY & CHILCOTE, P.C.



                                      BY:
                                             JEFFREY H. QUINN, ESQUIRE
                                             ALLISON L. PERRY, ESQUIRE
                                             Attorney for Defendants




                                                                                       Case I        190401 348
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                       IN THE UNITED STA
                                           i STRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ABDEL-BAKIEM CAID
                                                   Civil Action No.
                      vs.

AL SHARIF DAVIS, LYFT, INC. and
                                                                                    214
STEADFAST INSURANCE COMPANY


                                           ORDER
       AND NOW, this ____ day of _ _ ____, 2019, upon consideration of the

Petition of Defendant, Lyft, Inc., and any response thereto, it is hereby ORDERED and

DECREED that Defendant's Petition is granted and the action of Abdel-Hakiem Caid v. Al

Sharif Davis. Lyft. Inc. and Steadfast Insurance Company. April Term, 2019, number 1348,

is removed from the Court of Common Pleas of Philadelphia County, Pennsylvania and is

transferred to the United States District Court for the Eastern District of Pennsylvania.



                                           BY THE COURT:




                                           UNITED STATES DISTRICT JUDGE
